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 1                                                               Chief Judge Ricardo S. Martinez
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                             UNITED STATES DISTRICT COURT FOR THE
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
 9 UNITED STATES OF AMERICA,
10                                  Plaintiff,      NO. CR20-134RSM
11                                                  SECOND ORDER CONTINUING
                            v.                      TRIAL
12
13
     MATTHEW RUHMANN SLATER,
14
                                    Defendant.
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16
17          Having considered the record and the parties’ stipulated motion, the Court FINDS that
18 the ends of justice served by granting a continuance outweigh the best interests of the public
19 and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(i), (iv). The COURT,
20 among other things, credits the parties’ assertions regarding the need for defense preparation
21 and the challenges posed by the current COVID-19 pandemic.
22          IT IS THEREFORE ORDERED that the parties’ motion to continue the trial date is
23 GRANTED. Trial is rescheduled for June 7, 2021. Pretrial motions are due May 6, 2021.
24          IT IS FURTHER ORDERED that the time between the date of this Order and June 7,
25 2021, is excluded in computing the time within which trial must commence because the ends
26 of justice served by granting this continuance outweigh the best interest of the public and the
27 defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). Failure to grant this continuance
28 would likely make trial impossible and result in a miscarriage of justice, and would deny

     Order Continuing Trial – 1                                           UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
     United States v. Slater, CR20-134RSM                                SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
              Case 2:20-cr-00134-RSM Document 24 Filed 01/11/21 Page 2 of 2




 1 counsel for the defendant and government counsel the reasonable time necessary for
 2 effective preparation, taking into account the exercise of due diligence. Id. § (B)(i), (iv).
 3          Dated this 11th day of January, 2021.
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 7
                                               A
                                               RICARDO S. MARTINEZ
                                               CHIEF UNITED STATES DISTRICT JUDGE
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 9
     Presented by:
10
11 /s/ Thomas M. Woods
   THOMAS M. WOODS
12 Assistant United States Attorney
13
14 /s/ Jennifer Horwitz
15 JENNIFER HORWITZ
   Counsel for Matthew Slater
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     Order Continuing Trial – 2                                             UNITED STATES ATTORNEY
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